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                  IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
       v.                                       )          CR. NO. 1:09cr33-SRW
                                                )
JEREMY SALTER                                   )

                              ORDER ON ARRAIGNMENT

       On July 7, 2009, the defendant, JEREMY SALTER, appeared in person and in open
court with counsel and was arraigned in accordance with the provisions of Rule 10 of the
Federal Rules of Criminal Procedure.

       PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the defendant
is requested to contact the U.S. Attorney immediately if the defendant intends to engage in
plea negotiations. If the defendant decides to change this plea, the parties shall file a notice
of intent to plead guilty or otherwise notify the clerk's office as soon as possible.

       TRIAL. This case is set for jury selection at 10:00 a.m. on September 28, 2009 in
Dothan, Alabama before Chief Magistrate Judge Susan Russ Walker. A definite trial date
will be determined at the time of jury selection, but counsel should be prepared to begin
trial on the day of jury selection before the undersigned Magistrate Judge. Any requested
voir dire questions and jury instructions must be filed no later than one week before jury
selection.

        In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70 day
period, a court must consider among other factors “[w]hether the failure to [set the case at
a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(8)(B)(I). The court also must consider “whether the failure to grant such a
continuance . . . would deny counsel for the defendant or the attorney for the government the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based on the nature of this case, the parties’
need for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the court finds that the ends of justice served by setting this case on this trial

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term outweigh the best interest of the public and the defendant in a speedy trial.

        PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d),
14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to this court's standing order on discovery and consistent with the conference and
certification requirements set forth in paragraph 4 of this order must be filed no later than
September 8, 2009. No motion filed after this date will be considered unless filed with leave
of court.

        Motions to suppress must allege specific facts which, if proven, would provide a basis
of relief. This court will summarily dismiss suppression motions which are supported only
by general or conclusory assertions founded on mere suspicion or conjecture. See generally
United States v. Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).

        DISCOVERY. Unless the government provided initial disclosures1 to defendant
prior to or at arraignment the government is ORDERED to tender initial disclosures to the
defendant no later than 7 days after the date of this order. Disclosure by the defendant shall
be provided no later than 14 days after the date of this order. No attorney shall file a
discovery motion without first conferring with opposing counsel, and no motion will be
considered by the court unless it is accompanied by a certification of such conference and
a statement of the moving party's good faith efforts to resolve the subject matter of the
motion by agreement with opposing counsel. No discovery motion shall be filed for
information or material within the scope of this Rule unless it is a motion to compel, a motion

        1
          Initial disclosures include but are n ot limited to: (A) Fed. R. Crim. P. 16 (a) Information. All
discoverable information within the scope of Rule 16(a) of the Federal Rules of Criminal Procedure; (B)
Brady Material. All information and material known to the government which may be favorable to the
defendant on the issues of guilt or punishment, without regard to materiality, within the scope of Brady v.
Maryland, 373 U.S. 83 (1963); (C) Giglio Material. The existence and substance of any payments, promises
of immunity, leniency, preferential treatment, or other inducements made to prospective witnesses, within
the scope of United States v. Giglio, 405 U.S. 150 (1972); (D) Testifying informant's convictions. A record
of prior convictions of any alleged informant who will testify for the government at trial; (E) Defendant's
identification. If a line-up, show-up, photo spread or similar, procedure was used in attempting to identify
the defendant, the exact procedure and participants shall be described and the results, together with any
pictures, and photographs, shall be disclosed; (F) Inspection of vehicles, vessels, or aircraft. If any vehicle,
vessel, or aircraft, was allegedly utilized in the commission of any offenses charged, the government shall
permit the defendant's counsel and any expert selected by the defense to inspect it, if it is in the custody of
any governmental authority; (G) Defendant's latent prints. If latent fingerprints, or prints of any type, have
been, identified by a government expert as those of the defendant, copies thereof shall be provided; (H) Fed.
R. Evid.404(b). The government shall advise the defendant of its intention to introduce evidence in its case
in chief at trial, pursuant to Rule 404(b) of the Federal Rules of Evidence; and (I) Electronic Surveillance
Information. If the defendant was an aggrieved person as defined in 18 U.S.C. § 2510(11), the government
shall so advise the defendant and set forth the detailed circumstances thereof.

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for protective order or a motion for an order modifying discovery. See Fed. R. Crim. P.
16(d). Discovery requests made pursuant to Fed. R. Crim. P. 16 and this Order require no
action on the part of this court and shall not be filed with the court, unless the party making
the request desires to preserve the discovery matter for appeal.

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of the
trial.2

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties
are ORDERED to appear at all future court proceedings in this criminal case. Those
attorneys who find it impossible to be in attendance (especially at jury selection or trial) must
make arrangements to have substitute counsel appear on behalf of their clients. Any attorney
who appears as substitute counsel for a defendant shall have full authorization from the
defendant to act on his or her behalf and be fully prepared to proceed. Substitute counsel
shall not be counsel for a co-defendant unless permitted by the court after proper motion.
Any counsel who wishes to have substitute counsel appear must obtain permission of the
court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of the
date of this order. Failure to obtain fees from a client is not an extraordinary
circumstance.

       Done, this 7th day of July, 2009.


                                     /s/ Susan Russ Walker
                                     SUSAN RUSS WALKER
                                     CHIEF UNITED STATES MAGISTRATE JUDGE




       2
        In certain complex cases, the government may agree to earlier production.

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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF ALABAMA


                 STANDING ORDER ON CRIMINAL DISCOVERY

       It is the court's policy to rely on the standard discovery procedure as set forth in this

Order as the sole means of the exchange of discovery in criminal cases except in

extraordinary circumstances. This Order is intended to promote the efficient exchange of

discovery without altering the rights and obligations of the parties, but at the same time

eliminating the practice of routinely filing perfunctory and duplicative discovery motions.

       INITIAL DISCLOSURES:

       (1)    Disclosure by the Government. At arraignment, or on a date otherwise set

              by the court for good cause shown, the government shall tender to defendant

              the following:

       (A)    Fed.R.Crim.P. 16(a) Information. All discoverable information within the

              scope of Rule 16(a) of the Federal Rules of Criminal Procedure.

       (B)    Brady Material. All information and material known to the government which

              may be favorable to the defendant on the issues of guilt or punishment, without

              regard to materiality, within the scope of Brady v. Maryland, 373 U.S. 83

              (1963).

       (C)    Giglio Material. The existence and substance of any payments, promises of

              immunity, leniency, preferential treatment, or other inducements made to



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      prospective witnesses, within the scope of United States v. Giglio, 405 U.S.

      150 (1972).

(D)   Testifying informant's convictions. A record of prior convictions of any

      alleged informant who will testify for the government at trial.

(E)   Defendant's identification. If a line-up, show-up, photo spread or similar

      procedure was used in attempting to identify the defendant, the exact

      procedure and participants shall be described and the results, together with any

      pictures and photographs, shall be disclosed.

(F)   Inspection of vehicles, vessels, or aircraft. If any vehicle, vessel, or aircraft

      was allegedly utilized in the commission of any offenses charged, the

      government shall permit the defendant's counsel and any expert selected by the

      defense to inspect it, if it is in the custody of any governmental authority.

(G)   Defendant's latent prints. If latent fingerprints, or prints of any type, have been

      identified by a government expert as those of the defendant, copies thereof

      shall be provided.

(H)   Fed.R.Evid.404(b). The government shall advise the defendant of its intention

      to introduce evidence in its case in chief at trial, pursuant to Rule 404(b) of the

      Federal Rules of Evidence.

(I)   Electronic Surveillance Information. If the defendant was an "aggrieved

      person" as defined in 18 U.S.C. §2510(11), the government shall so advise the

      defendant and set forth the detailed circumstances thereof.

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       (2)    Obligations of the Government.

       (A)    The government shall anticipate the need for, and arrange for the transcription

              of, the grand jury testimony of all witnesses who will testify in the

              government's case in chief, if subject to Fed.R.Crim.P. 26.2 and 18 U.S.C.

              §3500. Jencks Act materials and witnesses' statements shall be provided as

              required by Fed.R.Crim.P. 26.2 and 18 U.S.C. §3500.              However, the

              government, and where applicable, the defendant, are requested to make such

              materials and statements available to the other party sufficiently in advance as

              to avoid any delays or interruptions at trial. The court suggests an early

              disclosure of Jencks Act materials.

       (B)    The government shall advise all government agents and officers involved in

              the case to preserve all rough notes.

       (C)    The identification and production of all discoverable evidence or information

              is the personal responsibility of the Assistant United States Attorney assigned

              to the case and may not be delegated without the express permission of the

              court.

       (3)    Disclosures to U.S. Probation. At arraignment, or on a date otherwise

designated by the court upon good cause shown, the government shall tender to the U.S.

Probation Office all essential information needed by U.S. Probation to accurately calculate

the sentencing guideline range for the defendant, including, but not limited to, information

regarding the nature of the offense (offense level), the nature of the victim and the injury

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sustained by the victim, defendant's role in the offense, whether defendant obstructed justice

in the commission of the crime, defendant's criminal history, and any information regarding

defendant's status as a career offender/armed career criminal. In addition, in order to comply

with the requirements of the Anti-Terrorism Act, the government shall produce to the U.S.

Probation Office information regarding the victims of defendant's alleged criminal activity,

including, but not limited to, the identity of the victim by name, address, and phone number,

and the nature and extent of the victim's loss or injury.

       (4)    Disclosures by the Defendant. If defendant accepts or requests disclosure of

discoverable information pursuant to Fed.R.Crim.P. 16(a)(1)(C), (D), or (E), defendant, on

or before a date set by the court, shall provide to the government all discoverable information

within the scope of Fed.R.Crim.P. 16(b).

       SUPPLEMENTATION. The provisions of Fed.R.Crim.P. 16(c) are applicable. It

shall be the duty of counsel for all parties to immediately reveal to opposing counsel all

newly discovered information, evidence, or other material within the scope of this Rule, and

there is a continuing duty upon each attorney to disclose expeditiously.

       MOTIONS FOR DISCOVERY. No attorney shall file a discovery motion without

first conferring with opposing counsel, and no motion will be considered by the court unless

it is accompanied by a certification of such conference and a statement of the moving party's

good faith efforts to resolve the subject matter of the motion by agreement with opposing

counsel. No discovery motions shall be filed for information or material within the scope of

this Rule unless it is a motion to compel, a motion for protective order or a motion for an

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order modifying discovery. See Fed.R.Crim.P. 16(d). Discovery requests made pursuant to

Fed.R.Crim.P. 16 and this Order require no action on the part of this court and shall not be

filed with the court, unless the party making the request desires to preserve the discovery

matter for appeal.

       DONE this 4th day of February, 1999.


                                   /s/ W. Harold Albritton
                                   W. HAROLD ALBRITTON
                                   Chief United States District Judge


                                   /s/ Myron H. Thompson
                                   MYRON H. THOMPSON
                                   United States District Judge


                                   /s/Ira DeMent
                                   IRA DeMENT
                                   United States District Judge




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